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                                                                                    'FILED IN'CLERK'S
                                                                                     U.S. BANKRUPTCY OFFICE
                                                                                       NORTHERN DISTRICTCOURT
                      IN THE UNITED STATES BANKRUPTCY COURT                                OF CIEVI:21A
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION                                2024 FEB 12 AM 10:
                                                                                                    19
                                                                                         .VANIA S. ALLEN
In re:                                                      Chapter 11              Y:

THE ALIERA COMPANIES, INC.                           •      Case No. 21-11548 (TMH)
d/b/a Aliera Healthcare, Inc., et al.,
                                                     •      Pending in the United States
                                                            Bankruptcy Court for the District
                                                     •      of Delaware
                        Debtors.


ALIERA LT, LLC, as Liquidating Trustee of
The Aliera Companies, Inc., et aL,

                        Plaintiff,                           Adversary Proceeding
                                                             No. 23-05204-jrs
V.

JOHN BLENKE, THEORDORE STRICKLAND,
ROGER SEVIGNY ,and JAMES 'WESTON
QUINTRELL,
                                                     *


                        Defendant.


            DEFENDANT OUINTRELL'S ANSWER AND AFFIRMATIVE DEFENSES

         James Weston Quintrell files his answer and affirmative defenses ("Answer") to

Plaintiffs' Complaint [DM. 1], filed in the above-captioned adversary proceeding.

                                            ANSWERS

     1.Denied.

     2. Defendant lacks sufficient knowledge or information to admit or deny what Plaintiffs are

         seeking. Presumably, the Complaint speaks for itself Admit that any members at issue

         are members of Trinity Healthshare Inc and not Aliera or any organization for which

         Defendant was associated.
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  3. Denied.

  4. Denied.

  5. This paragraph sets forth legal conclusions to which no response is required.

  6. This paragraph sets forth legal conclusions to which no response is required.

  7. Defendant lacks sufficient knowledge or information to admit or deny Plaintiffs'

     contention.

  8. This paragraph sets forth legal conclusions to which no response is required.

  9. This paragraph sets forth legal conclusions to which no response is required.

  10.Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  11.Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  12.Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  13.Admitted

  14.Denied.

  15.Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  16.Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  17.Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  18.Denied.

  19.Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  20. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  21. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  22. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  23. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  24. Defendant lacks sufficient knowledge or information to admit or deny the allegations.



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  25. Denied.

  26. Defendant lacks sufficient knowledge or information to admit or deny the allegations

     other than Mr. Thread did officiate the wedding.

  27. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  28. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  29. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  30. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  31. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  32. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  33. Defendant lacks sufficient knowledge or information to admit or deny the allegations

     other than Aliera subleased space to Trinity at some point.

  34. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  35. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  36. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  37. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  38. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  39. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  40. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  41. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  42. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  43. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  44. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  45. Defendant lacks sufficient knowledge or information to admit or deny the allegations.



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  46. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  47. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  48. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  49. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  50. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  51. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  52. Admitted.

  53. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  54. Defendant admits there was a fee schedule of some sort but denies there were premium

     payments. Defendant lacks knowledge regarding specific amounts.

  55. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  56. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  57. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  58. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  59. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  60. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  61. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  62. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  63. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  64. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  65. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  66. Denied.

  67. Denied.



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  68. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  69. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  70. Admitted.

  71. Admitted.

  72. Denied.

  73. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  74. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  75. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  76. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  77. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  78. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  79. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  80. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  81. Denied.

  82. Admitted.

  83. Defendant lacks sufficient knowledge or information to admit or deny the allegations

     other than service contracts existed regarding services listed below (84).

  84. Admitted.

  85. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  86. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  87. Denied.

  88. Denied.

  89. Denied.



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  90. Admitted.

  91. Admitted.

  92. Denied.

  93. Defendant admits that he was full time student until December 2019, otherwise denied.

  94. Denied.

  95. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  96. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  97. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  98. Denied.

  99. Defendant lacks sufficient knowledge or information to admit or deny the allegations as

     "corporate governance structure" is not explained and Defendant is not aware of any

     specific changes other than adding advisory board members.

  100. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  101. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  102. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  103. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  104. Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  105. Denied.

  106. This paragraph sets forth legal conclusions to which no response is required.

  107. Denied.

  108. Denied.

  109. This paragraph sets forth legal conclusions to which no response is required.

  110. This paragraph sets forth legal conclusions to which no response is required.



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  111. This paragraph sets forth legal conclusions to which no response is required.

  112. This paragraph sets forth legal conclusions to which no response is required.

  113. This paragraph sets forth legal conclusions to which no response is required.

  114. This paragraph restates and incorporates prior paragraphs to which no response is

     required. To the extent a response is required, Defendant restate and incorporate their

     prior responses.

  115. This paragraph sets forth legal conclusions to which no response is required.

  116. This paragraph sets forth legal conclusions to which no response is required.

  117. This paragraph sets forth legal conclusions to which no response is required.

  118. This paragraph sets forth legal conclusions to which no response is required.

  119. This paragraph sets forth legal conclusions to which no response is required.

  120. Denied.

  121. Denied.

  122. This paragraph sets forth legal conclusions to which no response is required.

  123. This paragraph sets forth legal conclusions to which no response is required.

  124. This paragraph restates and incorporates prior paragraphs to which no response is

     required. To the extent a response is required, Defendant restates and incorporates their

     prior responses.

  125. This paragraph sets forth legal conclusions to which no response is required.

  126. This paragraph sets forth legal conclusions to which no response is required.

  127. This paragraph sets forth legal conclusions to which no response is required.

  128. This paragraph sets forth legal conclusions to which no response is required.

  129. This paragraph sets forth legal conclusions to which no response is required.



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  130.This paragraph sets forth legal conclusions to which no response is required.

  131.Denied.

  132.Denied.

  133.This paragraph sets forth legal conclusions to which no response is required.

  134.This paragraph sets forth legal conclusions to which no response is required.

  135.This paragraph sets forth legal conclusions to which no response is required.

  136.This paragraph sets forth legal conclusions to which no response is required.

  137.This paragraph restates and incorporates prior paragraphs to which no response is

     required. To the extent a response is required, Defendant restates and incorporates their

     prior responses.

  138.This paragraph sets forth legal conclusions to which no response is required.

  139.This paragraph sets forth legal conclusions to which no response is required.

  140.This paragraph sets forth legal conclusions to which no response is required.

  141.Denied as to services rendered for less than reasonably equivalent value. The remainder

     of the paragraph sets forth legal conclusions to which no response is required.

  142.This paragraph sets forth legal conclusions to which no response is required.

  143.This paragraph sets forth legal conclusions to which no response is required.

  144.Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  145.This paragraph sets forth legal conclusions to which no response is required.

  146.This paragraph restates and incorporates prior paragraphs to which no response is

     required. To the extent a response is required, Defendant restate and incorporate their

     prior responses.

  147.This paragraph sets forth legal conclusions to which no response is required.



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  148.Denied.

  149.Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  150.This paragraph sets forth legal conclusions to which no response is required.

  151.Admitted.

  152.Admitted.

  153.Denied.

  154.This paragraph sets forth legal conclusions to which no response is required.

  155.This paragraph sets forth legal conclusions to which no response is required.

  156.This paragraph sets forth legal conclusions to which no response is required.

  157.This paragraph restates and incorporates prior paragraphs to which no response is

     required. To the extent a response is required, Defendant restates and incorporates their

     prior responses.

  158.This paragraph sets forth legal conclusions to which no response is required.

  159.This paragraph sets forth legal conclusions to which no response is required.

  160.Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  161.Defendant lacks sufficient knowledge or information to admit or deny the allegations.

  162. This paragraph sets forth legal conclusions to which no response is required.

  163.This paragraph sets forth legal conclusions to which no response is required.

  164.This paragraph restates and incorporates prior paragraphs to which no response is

     required. To the extent a response is required, Defendant restate and incorporate their

     prior responses.

  165.This paragraph sets forth legal conclusions to which no response is required.




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   166. Denied to the extent the paragraph attempts to suggests transfers were made for services

       not provided contemporaneously which would otherwise set forth legal conclusions to

       which no response is required.

   167. This paragraph sets forth legal conclusions to which no response is required.

   168. This paragraph sets forth legal conclusions to which no response is required.

   169. This paragraph sets forth legal conclusions to which no response is required.

   170. This paragraph sets forth legal conclusions to which no response is required.

   171. This paragraph restates and incorporates prior paragraphs to which no response is

       required. To the extent a response is required, Defendant restate and incorporate their

       prior responses.

   172. This paragraph sets forth legal conclusions to which no response is required.

   173. This paragraph sets forth legal conclusions to which no response is required.

   174. This paragraph sets forth legal conclusions to which no response is required.

   175. This paragraph sets forth legal conclusions to which no response is required.


       The remainder of the Complaint constitutes Plaintiffs' request for relief to which no

   responsive pleading is required. To the extent a responsive pleading is required, Defendant

   denies that Plaintiffs are entitled to the relief sought.

       All allegations that have not been specifically admitted are denied.


                            AFFIRMATIVE & OTHER DEFENSES

       Defendant asserts the following defenses without admitting any of the allegations of the

Complaint, without assuming the burden of any such defense that they would not otherwise have,

and with reservation of their rights to amend or supplement their Answer for any reason,

including based upon evidence developed in discovery or otherwise.

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                                          FIRST DEFENSE
       Plaintiffs' complaint fails in whole or in part to state a claim upon which relief can be

granted.

                                         SECOND DEFENSE
       Plaintiffs' claims are barred by the doctrines of unclean hands, waiver and/or estoppel.
                                          THIRD DEFENSE
       One or more claims are barred by the statute of limitations.
                                         FOURTH DEFENSE
       Plaintiffs complaint is made in bad faith for improper purposes, asserting facts and legal

assertions they know to be false as to these Defendants.

                                          FIFTH DEFENSE
       Adequate consideration was provided for all funds received.

                                          SIXTH DEFENSE
       Plaintiffs are acting in bad faith and breaching their fiduciary duties in bringing this

derivative action.

                                         SEVENTH DEFENSE
        Plaintiffs are not the real party in interest and are conflicted.
                                         EIGHTH DEFENSE
       There was no civil conspiracy as the businesses were for legitimate business purposes.
                                          NINTH DEFENSE
       Plaintiffs cannot satisfy the elements of section 544 or the statutes incorporated

thereunder as (i) Defendant had no fraudulent intent at the time of the transfers; (ii) conveyed

reasonably equivalent value to the Debtors in exchange for any transfers; and/or (iii) took the

transfers in good faith and for value.




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                                        TENTH DEFENSE

       Defendant are protected under section 550(b) as having taken for value, in good faith, and

without knowledge of the voidability of the transfer avoided.

                                      ELEVENTH DEFENSE
       Plaintiffs have failed to join all necessary parties.
                                      TWELFTH DEFENSE
       Plaintiffs failed to mitigate their alleged damages.

                                    THIRTEENTH DEFENSE

       Plaintiffs' seek to recover damages resulting from their own admitted violations of state

and/or federal law.

                                    FOURTEENTH DEFENSE

       Defendant had an objective good faith belief that the HCSM and other products Debtors

sold were not insurance.



Dated: February 12, 2024                       Respectfully Submitted,


                                               James Weston Quintrell
                                               350 Minnehaha Trail
                                               Blue Ridge, Georgia 30513
                                               Tel: (706) 851-5946
                                               westonquintrell@gmail.com

                                               Pro Se Defendant




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                                CERTIFICATE OF SERVICE


       I hereby certify that on February 12, 2024, I filed the foregoing Answer and Affirmative

Defenses which once e-filed by the clerk's office will be served on all parties who are scheduled

to receive notice through the Court's ECF system as follows:




Dennis A. Meloro                                    John D. Elrod
(DE Bar No. 4435)                                   Terminus 200
222 Delaware Avenue, Suite 1600                     3333 Piedmont Rd., NE
Wilmington, Delaware 19801                          Suite 2500
Telephone: (302) 661-7000                           Telephone: (678) 553-2259
Facsimile: (302) 661-7360                           Facsimile: (678) 553-2269
Email: Dennis.Meloro(&gtlaw.com                     Email: Elrodi@gtlaw.com




                                                    James Weston Quintrell




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